         Case 1:16-cr-00656-GHW Document 795 Filed 11/06/20 Page 1 of 2
                                                                  USDC SDNY
                                                                  DOCUMENT
                                                                  ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                     DATE FILED: 11/6/2020
 ROBERT GIST,
                                 Movant,                            19-cv-5095-GHW

                     -against-                                      16-cr-656-6-GHW
 UNITED STATES OF AMERICA,                                              ORDER
                                 Respondent.

GREGORY H. WOODS, United States District Judge:

       The Court has received the parties’ November 6, 2020 letter regarding their availability for

an evidentiary hearing in connection with Mr. Gist’s § 2255 motion. The hearing will take place on

December 8, 2020 at 9:00 a.m. in Courtroom 12C of the United States District Court for the

Southern District of New York, Daniel Patrick Moynihan U.S. Courthouse at 500 Pearl Street, New

York, New York, 10007.

       Each of the parties is directed to submit to the Court two courtesy copies of the exhibits

that it will introduce during the hearing no later than November 24, 2020. Courtesy copies should

be double-sided, three-hole punched, tabbed, and placed in binders. The spines of the binders

should be labeled to include the name of the case, the case number, and the nature of the materials

included in the binder. The parties are also directed to mail the Court two USB drives containing all

of the exhibits in separate, individually labeled and OCRed PDFs.

       The Court directs the United States to produce Mr. Gist for the hearing.

       The Court will hold a teleconference on November 9, 2020 at 10:00 a.m. to discuss the

logistics for the upcoming evidentiary hearing. The parties are directed to use the conference call

dial-in information and access code noted in the Court’s Emergency Rules in Light of COVID-19,
         Case 1:16-cr-00656-GHW Document 795 Filed 11/06/20 Page 2 of 2



available on the Court’s website, and are specifically directed to comply with Emergency Rule 2(C).

       SO ORDERED.

 Dated: November 6, 2020
 New York, New York                                         GREGORY H. WOODS
                                                           United States District Judge




                                                 2
